            Case 4:17-cv-40011-TSH Document 73 Filed 12/26/18 Page 1 of 4



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                                   CENTRAL DIVISION


 UNITED STATES OF AMERICA,              )
                                        )               Case No. 4:17−cv−40011−TSH
           Plaintiff,                   )
                                        )               Judge Timothy S. Hillman
           v.                           )
                                        )
 DAVID L. TOPPIN,                       )
 JENNIFER TOPPIN,                       )
 DEUTSCHE BANK NATIONAL TRUST           )
 COMPANY as Trustee for RESIDENTIAL     )
 ASSET SECURITIZATION TRUST SERIES )
 2013-A14, MORTGAGE PASS-THROUGH )
 CERTIFICATES SERIES 2003-N,            )
 UPS CAPITAL BUSINESS CREDIT f/k/a,     )
 FIRST INTERNATIONAL BANK,              )
 COMMONWEALTH OF MASSACHUSETTS, )
 TOWN OF HOLDEN,                        )
 TOWN OF AMHERST, and                   )
 TOWN OF GARDNER,                       )
                                        )
           Defendants.                  )
 _______________________________________)

              Motion for Stay of Proceedings in Light of Lapse of Appropriations

       The plaintiff United States of America, through the undersigned counsel, hereby

respectfully moves for a stay of the entirety of the proceedings in the above-captioned case.


       1.       At the end of the day on December 21, 2018, the appropriations act that had been

funding the Department of Justice expired and appropriations to the Department lapsed. The

same is true for several other Executive agencies, including the Internal Revenue Service. The

Department does not know when funding will be restored by Congress.

       2.       Absent an appropriation, Department of Justice attorneys and employees of the

federal defendants are prohibited from working, even on a voluntary basis, except in limited



                                                1
             Case 4:17-cv-40011-TSH Document 73 Filed 12/26/18 Page 2 of 4



circumstances, including “emergencies involving the safety of human life or the protection of

property.” 31 U.S.C. § 1342.

        3.         The undersigned counsel for the Department of Justice therefore requests a stay of

the entire case until Congress has restored appropriations to the Department.

        4.         If this motion for a stay is granted, undersigned counsel will notify the Court as

soon as Congress has appropriated funds for the Department. The Government requests that, at

that point, all current deadlines for the parties be extended commensurate with the duration of the

lapse in appropriations. The undersigned counsel will contact the opposing parties to discuss

what deadlines, if any, should be reset once the stay is lifted and will inform the Court via

separate filing.

        5.         The undersigned counsel contacted opposing counsel as well as David L. Toppin,

who is proceeding pro se, regarding whether there would be any objection to this motion, and

Counsel for the defendants Jennifer Toppin (Sean McMahon, Esq.) the Massachusetts

Department of Revenue (Eileen McAuliffe, Esq.), and Deutsche Bank National Trust Company

(Stephanie Sprague, Esq.), indicated that they assented to the relief requested; no response was

received prior to filing from the other parties.




                                                     2
          Case 4:17-cv-40011-TSH Document 73 Filed 12/26/18 Page 3 of 4



       Therefore, although we greatly regret any disruption caused to the Court and the other

litigants, the Government hereby moves for a stay of the entire case in this case until Department

of Justice attorneys are permitted to resume their usual civil litigation functions.


       Dated: December 26, 2018



                                                   Respectfully submitted,

                                                   RICHARD E. ZUCKERMAN
                                                   Principal Deputy Assistant Attorney General
                                                   Tax Division, U.S. Department of Justice


                                                       /s/ Jeffrey N. Nuñez
                                                       JEFFREY N. NUÑEZ
                                                       Trial Attorney, Tax Division
                                                       U.S. Department of Justice,
                                                       Post Office Box 55
                                                       Ben Franklin Station
                                                       Washington, D.C. 20044
                                                       Telephone:      (202) 616-5218
                                                       Fax:            (202) 514-5238
                                                       Jeffrey.N.Nunez@usdoj.gov




                                                  3
         Case 4:17-cv-40011-TSH Document 73 Filed 12/26/18 Page 4 of 4



                                      Certificate of Service

      I, Jeffrey N. Nuñez, pursuant to D. Mass. Civ. L.R. 5.2(b), hereby certify that on
December 26, 2018, I electronically filed the foregoing document via this Court’s ECF system,
which will send notice to all parties requesting notice through this Court’s ECF system.

        A copy of the foregoing document was also served upon the following party who is not a
registered CM/ECF participant, via First Class United States mail and email:

                                        David L. Toppin
                                        465 Salisbury St.
                                       Holden, MA 01520
                                      dave@pelletizer.com

The United States submits that, under the circumstances, no other or further notice is required.


                                                     /s/ Jeffrey N. Nuñez
                                                     JEFFREY N. NUÑEZ
                                                     Trial Attorney, Tax Division
                                                     U.S. Department of Justice




                                                4
